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              IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION
      Amadeus IT Group, S.A.,
                                                  CIVIL ACTION NO.
                    Petitioner,                   1:22-cv-04109-SEG
      v.

      Ebix, Inc.,

                    Respondent.




               PETITIONER’S REPLY IN SUPPORT TO ITS MOTION
                         FOR DEFAULT JUDGMENT

      Petitioner, Amadeus IT Group, S.A. (“Amadeus”), submits this reply brief

in support of its Motion for Default Judgment against Respondent, Ebix, Inc.

(“Ebix”) in connection with Amadeus’ petition to recognize and enforce a foreign

arbitral award [Doc. 01] (the “Petition”).

      As stated in its prior pleadings, Ebix has not demonstrated good cause for

failing to file a timely response to Amadeus’ Petition which was properly served.

That failure was solely a result of Ebix’s own neglect. Further, this is not a matter

in which vacating a default is necessary to allow the defendant to defend against

liability on the merits. Ebix already had the opportunity in the arbitration to

defend the case on the merits. It fully exercised that opportunity, and it lost. In this



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Circuit, “arbitration is an alternative to litigation, not an additional layer in a

protracted contest.”1 Ebix’s efforts to reopen the default will be futile given that

Ebix has asserted no valid grounds to challenge the arbitration award. Reopening

the default simply adds another layer to an already protracted contest.

      Ebix’s sole basis for challenging the arbitration award is the tribunal’s award

of attorney’s fees. Contrary to Ebix’s argument, the arbitral tribunal did not exceed

its scope or authority in awarding attorney’s fees. “In an international arbitration

governed by an institutional rule for international arbitration, any award on

attorneys’ fees and costs will be regulated by the relevant arbitration rules

governing award of costs and fees.”2 By agreement of the parties, the international

arbitration resulting in the award against Ebix was governed by the International

Chamber of Commerce (“ICC”) Arbitration Rules, which expressly allow the

award of attorneys’ fees. Ebix’s basis for challenging the award is frivolous.




1B.L. Harbert Int’l, 441 F.3d at 913–14, overruled on other grounds, Hall Street
Associates LLC v. Mattel, 552 U.S. 576 (2008).
2Tai-Heng Cheng, Recovery of Fees and Costs, in LAURENCE SHORE, et al, INT’L
ARBITRATION IN THE U.S., 452 (2018); see also authority cited in Pet’r’s Resp. to
Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at 8.


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         Amadeus requests that this Court award the attorneys’ fees associated with

this enforcement action because Ebix has refused to abide by a binding arbitration

decision without a valid defense.3

    I.   BACKGROUND

         As stated in Amadeus’ Petition and its Motion for Default Judgment,4 the

parties entered into the Global Agreement on October 1, 2019.5 From the very start,

Ebix failed to meet its obligations under the Global Agreement.6 After months of

negotiations, Ebix remained unwilling to return the Advance Incentive Payment

paid by Amadeus under the Global Agreement.7 Accordingly, on April 30, 2020,

Amadeus terminated the Global Agreement and demanded repayment from

Ebix.8 On September 8, 2020, Amadeus commenced ICC arbitration proceedings,

as provided in the Global Agreement, against Ebix and EbixCash Private Limited

(f/k/a Ebix Software India Private Ltd.) (“EbixCash” a fully owned subsidiary of




3 Bamberger Rosenheim, Ltd. v. OA Dev., Inc., No. 1:15-CV-04460-ELR, 2018 WL
6137615, at *2 (N.D. Ga. Aug. 23, 2018).
4   Pet’r’s Mot. Default J. [Doc. 10].
5   Bentham Decl. Ex. A Global Agreement [Doc. 1-1].
6   Petition to Confirm Foreign Arbitral Award (“Pet.”) at ¶ 11–13.
7 Goodwin      Decl. [Doc. 10-2] at ¶ 5–7.
8   Pet. at ¶ 15.


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Ebix).9 The arbitral tribunal rendered an award (the “Final Award”) in favor of

Amadeus on February 17, 2022.10

         Ebix suggests that the parties are in active settlement negotiations. To the

contrary, following the issuance of Final Award, there was only a single email

exchange between the parties on August 26, 2022.11 This was the first time that Ebix

made any effort to contact Amadeus after the conclusion of the arbitration.

Because this exchange showed no signs of resolving the dispute, Amadeus filed

its Petition on October 14, 2022.12 Only after the Clerk’s entry of default in

December did Ebix even attempt to reopen negotiations.13

         Amadeus duly served Ebix with the Petition through Ebix’s registered agent

in Georgia, National Registered Agents, Inc. By this time, counsel for Amadeus in

the arbitration (Simmons & Simmons LLP, “Simmons”) had been informed by the

Indian law firm that represented Ebix in the arbitration that it was no longer

representing Ebix.14 The registered agent received the summons on October 21,



9   Pet. at ¶ 18.
10 Final   Award dated February 17, 2021 [Doc. 1-1, Ex. 2].
11 Kundu     Aff. [Doc.12-2] at ¶ 6.
12   See generally, Pet.
13   Kundu Aff. [Doc.12-2] at ¶ 6.
14 Bentham     Decl. [Doc. 18-2] at ¶ 4.


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2022. The registered agent promptly forwarded the summons to Ebix. A physical

copy of the summons was delivered to Ebix’s place of business on November 7,

2022, well within the twenty-one-day response period.15

         Amadeus filed its motion for entry of default on November 21, 2022. The

Clerk of the Court entered the default on November 22, 2022. Ebix claims it was

unaware of the default until December 6, 2022. If so, this was solely due to the

neglect of its own employees who failed to check their mail. Ebix failed to appear

until December 12, 2022, over a month after being provided physical copies of the

summons and nearly two months after its registered agent was properly served.

Amadeus filed its motion for default judgment on December 14, 2022.

 II.     LEGAL STANDARD

         Rule 55 of the Federal Rules of Civil Procedure allows the Court to set aside

entry of default upon a showing of “good cause.” Fed. R. Civ. P. 55(c). The

respondent bears the burden of establishing “good cause”.16 The Eleventh Circuit

has considered several factors in determining whether a party in default has

established “good cause.” These factors include:



15   Hamil Aff. [Doc. 12-3] at ¶ 5–6.
16Wilcox v. Caine & Weiner Co., Inc., No. 120CV04159ELRRGV, 2021 WL 1351856,
at *1 (N.D. Ga. Mar. 5, 2021).


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         (1) whether the default was culpable or willful, (2) whether setting the
         entry of default aside would prejudice the adversary, (3) whether the
         defaulting party presents a meritorious defense, (4) whether the
         public interest has been implicated, (5) whether the entry of default
         would cause significant financial loss to the defaulting party, and (6)
         whether the defaulting party acted promptly to correct the default. 17

This case involves the enforcement of a foreign arbitral award. “Judicial review of

arbitration decisions is ‘among the narrowest known to the law.’” Gherardi v.

Citigroup Glbo. Mkts., Inc., 975 F.3d 1232, 1237 (11 Cir. 2020) (quoting Bamberger

Rosenheim, Ltd. (Isr.) v. OA Dev., Inc. (U.S.), 862 F.3d 1284, 1286 (11th Cir. 2017).

III.     ARGUMENT

         For the reasons stated in Amadeus’ Response to Ebix’s Motion to Set Aside

the Clerk’s Entry of Default which are incorporated by reference and briefly

summarized hereinafter,18 Ebix has not established “good cause” to set aside the

entry of default, and this Court should grant Amadeus’ Motion for Default

Judgment and confirm the Final Award.

            A. Ebix has Failed to Demonstrate “Good Cause” to Set Aside the
               Clerk’s Entry of Default




     (citing Compania Interamericana Export-Import, S.A. v. Compania Dominicana de
17 Id.

Aviacion, 88 F.3d 948, 951 (11th Cir. 1996)).
18Pet’r’s Resp. to Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at
5–14.


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         Ebix has failed to demonstrate “good cause.” Its failure to make a timely

response was culpable.19 Ebix was properly served through its registered agent,

and a physical copy of the summons was delivered to Ebix on November 7, 2022,

well within the twenty-one-day response period. Ebix neglected to have the right

procedures in place to have notice of actions served through its own registered

agent, which is inexcusable, especially for a large public company, such as Ebix.

         Ebix has not presented a meritorious defense to the Final Award under the

United Nations Convention on the Recognition and Enforcement of Foreign

Arbitral Awards (the “New York Convention”).20 The only defense to the award

asserted by Ebix here is that the arbitral tribunal should not have awarded

attorney’s fees to Amadeus as the prevailing party. Yet the parties agreed to be

bound by the ICC arbitration rules, which explicitly allow arbitrators to award

attorneys’ fees. Article 38 of the ICC Rules of Arbitration states: “1) The costs of

the arbitration shall include…the reasonable legal and other costs incurred by the

parties for the arbitration … 4) The final award shall fix the costs of the arbitration

and decide which of the parties shall bear them or in what proportion they shall be



19Full argument on this issue incorporated by reference for brevity. Pet’r’s Resp.
to Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at 8–10.
20   Full argument on this issue incorporated by reference for brevity. Id. at 5–7.


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borne by the parties.”21 The arbitration panel thus had the power to award

attorneys’ fees.22

           Ebix relies on McDaniel v. EquityExperts.Org to argue that even if it has

failed to present a meritorious defense, the Court may set aside an entry of

default.23 In that case, however, every other factor weighed in favor of setting aside

the entry of default.24 Here, all factors weigh against setting aside the default.

           “Arbitration’s allure is dependent upon the arbitrator being the last decision

maker in all but the most unusual cases … when litigants pursue baseless contests

of arbitration awards, the promise of arbitration is broken.”25 Ebix’s

unresponsiveness and efforts to delay have allowed it to unlawfully retain


21Art.38 ICC Rules of Arbitration, available at https://iccwbo.org/dispute-
resolution-services/arbitration/rules-of-arbitration/#article_38.
22 See Fowler v. Ritz-Carlton Hotel Co., LLC, 579 F. App’x 693, 699 (11th Cir. 2014)
(rejecting argument that the arbitrator “exceeded her authority” by awarding
attorneys’ fees and costs when the parties’ arbitration agreement and the AAA
rules (which were incorporated by the agreement) explicitly allowed the arbitrator
to award them); see also authority cited in Pet’r’s Resp. to Resp’t’s Mot. To Set Aside
Clerk’s Entry of Default [Doc. 18] at 8.
23McDaniels v. EquityExperts.Org, LLC, 2019 WL 3526505, at *1–2 (N.D. Ga. May
14, 2019).
24   Id.
25World Business Paradise, Inc. v. Suntrust Bank, 403 Fed.Appx. 468, 470 (11th Cir.
2020), quoting B.L. Harbert Intern., LLC v. Hercules Steel Co., 441 F.3d 905, 913 (11th
Cir. 2006), abrogated on other grounds by Frazier v. CitiFinancial Corp., 604 F.3d 1313,
1321 (11th Cir. 2010).


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approximately $15 million of Amadeus’ money for over three years.26 Even after

losing the arbitration, Ebix has refused to pay. Forcing Amadeus to litigate in U.S.

court a dispute that has already been resolved in arbitration deprives Amadeus of

the “promise of arbitration” and constitutes prejudice. 27

         Public interest favors the enforcement of legitimate foreign arbitral awards,

enforcing contracts, and judicial efficiency.28 The U.S. Supreme Court has

recognized that “the principal purpose” behind the adoption of the New York

Convention “was to encourage the recognition and enforcement of commercial

arbitration agreements in international [disputes]….”29 Denying this motion

would contravene the New York Convention and be against public interest.

         Additionally, Ebix is already liable for the Final Award because the

arbitration was binding. Granting this Motion will not substantially increase

Ebix’s existing liabilities beyond the reasonable attorneys’ fees associated with this




26   Goodwin Decl. [Doc. 10-2] at ¶ 4.
27Full argument on this issue incorporated by reference for brevity. Pet’r’s Resp.
to Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at 5–7.
28Full argument on this issue incorporated by reference for brevity. Pet’r’s Resp.
to Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at 11–12.
29Cvoro, 941 F.3d at 495 (quoting Scherk v. Alberto–Culver Co., 417 U.S. 506, 520 n.15,
94 S. Ct. 2449, 2457 n.15, 41 L.Ed.2d 270 (1974)).


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enforcement action, which Ebix brought upon itself for failing to comply with the

Final Award without justification.30

      Ebix cannot demonstrate “good cause” for setting aside the default under

the above factors.

         B. A Judgment Awarding Attorney Fees Related to This Enforcement
            Action is Appropriate and Requires No Further Hearing or
            Pleading

      Ebix’s response argues that the award of the attorneys’ fees related to this

enforcement action is not warranted as a matter of law. To the contrary, Amadeus

presented authority from this district in its Motion for Default Judgment

demonstrating that attorney’s fees and costs may be recovered “when a party

opposing confirmation of arbitration award refuses to abide by an arbitrator's

decision without justification.”31 Further, the Court may award fees without an

evidentiary hearing or further pleading. Amadeus has presented evidence of the

invoices Amadeus has received and provided declarations from the lead attorneys




30Full argument on this issue incorporated by reference for brevity. Pet’r’s Resp.
to Resp’t’s Mot. To Set Aside Clerk’s Entry of Default [Doc. 18] at 12.
31  Bamberger Rosenheim, Ltd. v. OA Dev., Inc., No. 1:15-CV-04460-ELR, 2018 WL
6137615, at *2 (N.D. Ga. Aug. 23, 2018) (emphasis added) cited Pet’r’s Mot. Default
J. [Doc. 10] at 9.


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for Amadeus concerning the reasonableness of their fees.32 Because Ebix has not

contested the reasonableness of the attorney’s fees, and Amadeus has presented

evidence from the lead attorneys for Amadeus concerning the reasonableness of

their fees, the only contested issue is whether fees are recoverable in this instance

as a matter of law, and courts in this district allow for the recovery of fees when a

party has failed to abide by an arbitrator’s decision without justification. Ebix has

done just that.

IV.   CONCLUSION

      For these reasons. Amadeus respectfully request that the Court enter default

judgment against Ebix.

      Respectfully submitted this 20th day of January, 2023.

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32See, e.g., Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1303 (11th
Cir. 1988) (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983); Gaines v. Dougherty
County, 775 F.2d at 1571; Carr v. Blazer Financial Services, Inc., 598 F.2d 1368, 1371
(5th Cir. 1979).


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                      CERTIFICATE OF COMPLIANCE

     The undersigned hereby certifies that the foregoing document was prepared

using 13-point Book Antiqua font.

                                           /s/ Glenn P. Hendrix
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